   Case 22-30690        Doc 8     Filed 05/04/22 Entered 05/04/22 12:06:24               Desc Main
                                    Document     Page 1 of 68



                             UNITED STATES BANKRUPTCY COURT
                                     DISTRICT OF MINNESOTA
_________________________________________________________________________________________________________

In re:
                                                                                    Case No. 22-30690
Gleason’s Gymnastic School, Inc.,
_________________________________________________________________________________________________________

                       NOTICE OF HEARING AND MOTION FOR ORDERS
              (I) GRANTING EXPEDITED RELIEF AND (II) AUTHORIZING USE
                  OF CASH COLLATERAL ON AN INTERIM AND FINAL BASIS
_________________________________________________________________________________________________________

TO:      The Parties Specified in Local Rule 9013-3(a)(2).

         1.     Gleason’s Gymnastic School, Inc., (“Debtor”), through its undersigned

attorney, moves this Court for the relief requested below and give notice of hearing.

         2.     This Court will hold a hearing on the Motion for expedited hearing and on the

portion of this Motion seeking interim orders at 2:00 p.m. on May 9, 2022, in the U.S.

Courthouse, Courtroom 8 West, 300 South Fourth Street, Minneapolis, Minnesota before

the Honorable Katherine A. Constantine, United States Bankruptcy Judge. A hearing on the

portion of this Motion seeking a final order will be held at 1:00 p.m. on May 25, 2022, at

the same location.

         3.     Local Rule 9006-1(b) provides deadlines for responses to this Motion.

However, given the expedited nature of the relief sought with respect to the portion of the

Motion seeking interim orders, the Debtor does not object to written responses being

served and filed immediately prior to the hearing. Any response to the Motion for a final

order must be filed and served by delivery no later than May 20, 2022, which is five (5)

days before the time set for the hearing (including Saturdays, Sundays and holidays).




                                                   1
  Case 22-30690      Doc 8    Filed 05/04/22 Entered 05/04/22 12:06:24         Desc Main
                                Document     Page 2 of 68



UNLESS A RESPONSE OPPOSING THIS MOTION IS TIMELY FILED, THE COURT MAY

GRANT THE RELIEF REQUESTED IN THE MOTION WITHOUT A HEARING.

       4.     This Court has jurisdiction over this Motion pursuant to 28 U.S.C. §§ 157 and

1334, Fed. R. Bankr. P. 5005, and Local Rule 1070-1. This is a core proceeding.

       5.     On May 2, 2022, (the “Petition Date”), the Debtor filed a petition for relief

pursuant to Chapter 11 of Title 11 of the United States Code (the “Bankruptcy Code” or the

“Code”). The case is now pending before this Court.

       6.     This motion arises under 11 U.S.C. §§ 105 and 363 and Fed. R. Bankr. P.

4001(b). This motion is filed under Fed. R. Bankr. P. 9014 and 4001 and Local Rules 4001-

2 and 9013-1 to 9013-3. The Debtor requests that this Court (I) grant expedited relief and

(II) enter interim and final orders authorizing the Debtor to use of cash collateral. The

grounds for this Motion are set forth below.

                             RULE 4001(b)(1)(B) STATEMENT

       7.     Pursuant to Fed. R. Bankr. P. 4001(b), the Debtor requests an order

authorizing the use of cash collateral in which American Express National Bank holds a

security interest (“Secured Party”). See Exhibit A. The Debtor will use the cash collateral to

continue their operations and reorganize in Chapter 11. The Debtor requests interim

authorization to use cash collateral through May 25, 2022, and final authorization to use

cash collateral through December 31, 2022. As adequate protection, the Debtor proposes

to make monthly payments, grant the Secured Party replacement liens in the cash collateral

and provide detailed monthly reports regarding cash collections and expenditures.

       8.     Pursuant to Fed. R. Bankr. P. 4001(b), the Debtor requests an order

authorizing the use of cash collateral in which US Small Business Administration holds a


                                               2
  Case 22-30690       Doc 8    Filed 05/04/22 Entered 05/04/22 12:06:24        Desc Main
                                 Document     Page 3 of 68



security interest (“Secured Party”). See Exhibit B. The Debtor will use the cash collateral to

continue their operations and reorganize in Chapter 11. The Debtor requests interim

authorization to use cash collateral through May 25, 2022, and final authorization to use

cash collateral through December 31, 2022. As adequate protection, the Debtor proposes

to make monthly payments in an amount no less than the amounts stated in the existing

loan documents between the Debtor and the Lender, see Exhibit B, grant the Secured Party

replacement liens in the cash collateral and provide detailed monthly reports regarding

cash collections and expenditures.

                                        BACKGROUND

       9.     The Debtor operates a gymnastic school.

       10.    On the Petition Date, the Debtor filed a voluntary petition for relief pursuant

to Chapter 11 of Title 11 of the United States Code (the “Bankruptcy Code”). Since the

Petition Date, the Debtor has operated its business as small business debtor-in-possession

pursuant to 11 U.S.C. §§ 101(51D), 1107(a) and 1108 of the Bankruptcy Code.                No

creditors’ committee or other official committee has been appointed pursuant to 11 U.S.C. §

1102 of the Bankruptcy Code.

       11.    The Secured Parties claim various security interests in the Debtor and in cash

collateral of the Debtor (the “Cash Collateral”).

                              PRE-PETITION SECURED DEBT

       12.    As of the Petition Date, the Debtor estimates that they are indebted to

American Express National Bank in the approximate amount of $167,268.52. American

Express National Bank filed a UCC financing statement against Debtor’s Cash Collateral in

the Office of the Minnesota Secretary of State on August 31, 2018, identified as filing


                                               3
  Case 22-30690         Doc 8    Filed 05/04/22 Entered 05/04/22 12:06:24       Desc Main
                                   Document     Page 4 of 68



number 1030270100713. (Loan documents evidencing the debt to American Express

National Bank and the UCC-1 are attached as Exhibit A).

       13.       As of the Petition Date, the Debtor estimates that they are indebted to US

Small Business Administration in the approximate amount of $150,000. US Small Business

Administration filed a UCC financing statement against Debtor’s Cash Collateral in the

Office of the Minnesota Secretary of State on July 20, 2021, identified as filing number

1168137301033.          (Loan documents evidencing the debt to US Small Business

Administration and the UCC-1 are attached as Exhibit B).

                                ESTIMATED COLLATERAL VALUE

       14.       As of the Petition Date and as of the date the Debtor seeks authorization to

use cash collateral, the Debtor estimates the following value for the Cash Collateral:

                      Cash                         $446,059.64
                      Accounts Receivable          $11,816.88

See Exhibit C.

                                  USE OF CASH COLLATERAL

       15.       The Debtor seeks authorization to use cash collateral existing as of the

Petition Date, and in which the Secured Party claims an interest, in order to pay expenses in

accordance with the cash flow projection/budget attached hereto as Exhibit D (the

“Budget”).

       16.       The Debtor will use cash collateral to pay essential business expenses, which

include: rent payments, pre-petition and post-petition wages and benefits for its

employees, other payroll liabilities, utilities, insurance, and other ordinary expenses

necessary to operating the Debtor’s business.



                                               4
  Case 22-30690      Doc 8    Filed 05/04/22 Entered 05/04/22 12:06:24         Desc Main
                                Document     Page 5 of 68



       17.    After the interim period, the Debtor must also have access to cash collateral

to pay rent payments and administrative expense obligations, such as professional fees and

United States Trustee fees, in addition to the essential business expenses referenced above.

       18.    The Debtor has cash on hand and will continue to generate cash from

ongoing operations. If the Debtor is unable to use cash collateral to pay essential business

expenses, and thereby operate its business, the Debtor’s business will be irreparably

harmed. The Debtor will be unable to pay rent for its business location, pay for marketing

and advertising, make its payroll, or otherwise pay expenses to maintain ordinary and

necessary business operations. Without virtually immediate access to cash collateral, the

Debtor will not be able to provide services to its customers and the Debtor will suffer a

debilitating decline in revenue and will of necessity be forced to discontinue operations.

                                 ADEQUATE PROTECTION

       19.    To adequately protect the Secure Party’s interest, the Debtor proposes to (i)

grant the Secured Party post-petition replacement liens of the same priority, dignity, and

effect as their pre-petition interests in the Debtor’s Cash Collateral, and (ii) report cash

collections and expenditures monthly.

       20.    As described on the collateral balance projections referenced above in

paragraphs 16 and 17, the Debtor projects that their Cash Collateral will stay roughly the

same during the period in which the Debtor seeks authorization to use cash collateral.

       21.    The Debtor’s use of cash collateral will (i) allow the Debtor to continue its

operation until a plan of reorganization can be confirmed; (ii) enhance the value of the

Debtor’s estate and its cash collateral; and (iii) increase materially the likelihood of a

meaningful recovery for the Debtor’s unsecured creditors.


                                              5
  Case 22-30690        Doc 8     Filed 05/04/22 Entered 05/04/22 12:06:24      Desc Main
                                   Document     Page 6 of 68



       22.     As referenced in paragraph 7 above, the Debtor is proposing to pay American

Express National Bank $10,000 per month as adequate protection to ultimately be applied

against its secured claim.

       23.     The Debtor is proposing to pay the US Small Business Administration

pursuant to the terms of the original loan whereby payments do not start until December

16, 2022 and are $731 per month.

                                       EXPEDITED RELIEF

       24.     The Debtor anticipates entry of a final order authorizing use of cash

collateral by May 25, 2022. As set forth in greater detail in above, without the interim use

of cash collateral as proposed, the Debtor will be unable to continue operations, and the

interests of creditors and others in this case will be irreparably harmed as described in

paragraph 19 above and itemized Debtor’s budget (Exhibit D). Cause therefore exists to

reduce notice of the hearing with respect to an interim order authorizing the use of cash

collateral.

       25.     The Debtor has taken reasonable steps to provide parties with the most

expeditious service and notice possible under the circumstances. Specifically, counsel for

the Debtor emailed copies of the Motion to the U.S. Trustee, and all parties in interest have

been served with this Motion and supporting documents. In addition, in order to provide

the most expeditious service and notice possible, the Debtor served this Motion upon

American Express National Bank and has noticed American Express National Bank’s

attorney by email, the United States Trustee, and the US Small Business Administration, as

set forth in the certificate of service.




                                              6
  Case 22-30690      Doc 8    Filed 05/04/22 Entered 05/04/22 12:06:24        Desc Main
                                Document     Page 7 of 68



       26.    Pursuant to Local Rule 9013-2(a), this motion is accompanied by a

memorandum of law, proposed order, and proof of service.

       27.    Pursuant to Local Rule 9013-2, the Debtor gives notice that they may, if

necessary, call Lisa Kucala, CFO of the Debtor, to testify on behalf of the Debtor about the

factual matters raised in this motion. The business address for this potential witness is:

2015 Silver Bell Road, Ste 180, Eagan, MN 55122.

       WHEREFORE, the Debtor respectfully moves this Court for an order granting:

       1.     An expedited hearing on this motion;

       2.     Interim use of cash collateral in accordance with the Budget (Exhibit D)

through and including the latter of May 25, 2022, or entry of an order following the final

hearing on the Motion.

       3.     Final use of cash collateral through December 31, 2022; and

       4.     Such other and further relief as the Court deems just and equitable.

Dated: May 4, 2022                               THOMAS H. OLIVE LAW, P.A.


                                                 By: /e/ Thomas H. Olive
                                                 Thomas H. Olive (ID# 14423X)
                                                 5270 W. 84th Street, Suite 300
                                                 Bloomington, MN 55437
                                                 Telephone: (952) 831-0733
                                                 Attorneys for Debtor




                                             7
Case 22-30690   Doc 8   Filed 05/04/22 Entered 05/04/22 12:06:24   Desc Main
                          Document     Page 8 of 68
Case 22-30690   Doc 8   Filed 05/04/22 Entered 05/04/22 12:06:24   Desc Main
                          Document     Page 9 of 68




                                Exhibit A
Case 22-30690   Doc 8   Filed 05/04/22 Entered 05/04/22 12:06:24   Desc Main
                         Document     Page 10 of 68
Case 22-30690   Doc 8   Filed 05/04/22 Entered 05/04/22 12:06:24   Desc Main
                         Document     Page 11 of 68
Case 22-30690   Doc 8   Filed 05/04/22 Entered 05/04/22 12:06:24   Desc Main
                         Document     Page 12 of 68
Case 22-30690   Doc 8   Filed 05/04/22 Entered 05/04/22 12:06:24   Desc Main
                         Document     Page 13 of 68
Case 22-30690   Doc 8   Filed 05/04/22 Entered 05/04/22 12:06:24   Desc Main
                         Document     Page 14 of 68
Case 22-30690   Doc 8   Filed 05/04/22 Entered 05/04/22 12:06:24   Desc Main
                         Document     Page 15 of 68
Case 22-30690   Doc 8   Filed 05/04/22 Entered 05/04/22 12:06:24   Desc Main
                         Document     Page 16 of 68
Case 22-30690   Doc 8   Filed 05/04/22 Entered 05/04/22 12:06:24   Desc Main
                         Document     Page 17 of 68
Case 22-30690   Doc 8   Filed 05/04/22 Entered 05/04/22 12:06:24   Desc Main
                         Document     Page 18 of 68
Case 22-30690   Doc 8   Filed 05/04/22 Entered 05/04/22 12:06:24   Desc Main
                         Document     Page 19 of 68
Case 22-30690   Doc 8   Filed 05/04/22 Entered 05/04/22 12:06:24   Desc Main
                         Document     Page 20 of 68
Case 22-30690   Doc 8   Filed 05/04/22 Entered 05/04/22 12:06:24   Desc Main
                         Document     Page 21 of 68
Case 22-30690   Doc 8   Filed 05/04/22 Entered 05/04/22 12:06:24   Desc Main
                         Document     Page 22 of 68
Case 22-30690   Doc 8   Filed 05/04/22 Entered 05/04/22 12:06:24   Desc Main
                         Document     Page 23 of 68
Case 22-30690   Doc 8   Filed 05/04/22 Entered 05/04/22 12:06:24   Desc Main
                         Document     Page 24 of 68
Case 22-30690   Doc 8   Filed 05/04/22 Entered 05/04/22 12:06:24   Desc Main
                         Document     Page 25 of 68
Case 22-30690   Doc 8   Filed 05/04/22 Entered 05/04/22 12:06:24   Desc Main
                         Document     Page 26 of 68
Case 22-30690   Doc 8   Filed 05/04/22 Entered 05/04/22 12:06:24   Desc Main
                         Document     Page 27 of 68
Case 22-30690   Doc 8   Filed 05/04/22 Entered 05/04/22 12:06:24   Desc Main
                         Document     Page 28 of 68
Case 22-30690   Doc 8   Filed 05/04/22 Entered 05/04/22 12:06:24   Desc Main
                         Document     Page 29 of 68
Case 22-30690   Doc 8   Filed 05/04/22 Entered 05/04/22 12:06:24   Desc Main
                         Document     Page 30 of 68
Case 22-30690   Doc 8   Filed 05/04/22 Entered 05/04/22 12:06:24   Desc Main
                         Document     Page 31 of 68
Case 22-30690   Doc 8   Filed 05/04/22 Entered 05/04/22 12:06:24   Desc Main
                         Document     Page 32 of 68
Case 22-30690   Doc 8   Filed 05/04/22 Entered 05/04/22 12:06:24   Desc Main
                         Document     Page 33 of 68
Case 22-30690   Doc 8   Filed 05/04/22 Entered 05/04/22 12:06:24   Desc Main
                         Document     Page 34 of 68
Case 22-30690   Doc 8   Filed 05/04/22 Entered 05/04/22 12:06:24   Desc Main
                         Document     Page 35 of 68
Case 22-30690   Doc 8   Filed 05/04/22 Entered 05/04/22 12:06:24   Desc Main
                         Document     Page 36 of 68
Case 22-30690   Doc 8   Filed 05/04/22 Entered 05/04/22 12:06:24   Desc Main
                         Document     Page 37 of 68
DocuSign Envelope ID: F039E63D-725A-4EAA-840D-4B8E183D2901
               Case 22-30690          Doc 8     Filed 05/04/22 Entered 05/04/22 12:06:24      DescDoc # L-XX-XXXXXXX-01
                                                                                                   Main
        SBA Loan #6467037908
                                                 Document     Page 38 of 68                   Application #3300657360



               LOAN AUTHORIZATION AND AGREEMENT (LA&A)

                                       A PROPERLY SIGNED DOCUMENT IS
                                           REQUIRED PRIOR TO ANY
                                               DISBURSEMENT

          CAREFULLY READ THE LA&A:
          This document describes the terms and conditions of your loan. It is your responsibility to comply with
          ALL the terms and conditions of your loan.


          SIGNING THE LA&A:
          All borrowers must sign the LA&A.
                   · Sign your name exactly as it appears on the LA&A. If typed incorrectly, you should sign
                      with the correct spelling.
                   · If your middle initial appears on the signature line, sign with your middle initial.
                   · If a suffix appears on the signature line, such as Sr. or Jr., sign with your suffix.

                                      In Process
                   · Corporate Signatories: Authorized representatives should sign the signature page.

                                        Your signature represents your agreement to comply
                                             with the terms and conditions of the loan.




                                                   Exhibit B
                                                                                                               Ref 50 30
DocuSign Envelope ID: F039E63D-725A-4EAA-840D-4B8E183D2901
                 Case 22-30690             Doc 8      Filed 05/04/22 Entered 05/04/22 12:06:24                      DescDoc # L-XX-XXXXXXX-01
                                                                                                                         Main
        SBA Loan #6467037908
                                                       Document     Page 39 of 68                                   Application #3300657360


                                                    U.S. Small Business Administration
         Economic Injury Disaster Loan


                                         LOAN AUTHORIZATION AND AGREEMENT
         Date: 06.16.2020 (Effective Date)

         On the above date, this Administration (SBA) authorized (under Section 7(b) of the Small Business Act, as amended) a Loan
         (SBA Loan #6467037908) to Gleason's Gymnastic School, Inc. (Borrower) of 2015 Silver Bell Road, Suite 180 Eagan
         Minnesota 55122 in the amount of one hundred and fifty thousand and 00/100 Dollars ($150,000.00), upon the following
         conditions:

         PAYMENT

                   ·    Installment payments, including principal and interest, of $731.00 Monthly, will begin Twelve (12) months
                        from the date of the promissory Note. The balance of principal and interest will be payable Thirty (30) years
                        from the date of the promissory Note.

         INTEREST

                   ·    Interest will accrue at the rate of 3.75% per annum and will accrue only on funds actually advanced from the
                        date(s) of each advance.

         PAYMENT TERMS

                   ·                       In Process
                        Each payment will be applied first to interest accrued to the date of receipt of each payment, and the balance, if
                        any, will be applied to principal.

                   ·    Each payment will be made when due even if at that time the full amount of the Loan has not yet been advanced
                        or the authorized amount of the Loan has been reduced.

         COLLATERAL

                   ·    For loan amounts of greater than $25,000, Borrower hereby grants to SBA, the secured party hereunder, a
                        continuing security interest in and to any and all “Collateral” as described herein to secure payment and
                        performance of all debts, liabilities and obligations of Borrower to SBA hereunder without limitation, including
                        but not limited to all interest, other fees and expenses (all hereinafter called “Obligations”). The Collateral
                        includes the following property that Borrower now owns or shall acquire or create immediately upon the
                        acquisition or creation thereof: all tangible and intangible personal property, including, but not limited to: (a)
                        inventory, (b) equipment, (c) instruments, including promissory notes (d) chattel paper, including tangible
                        chattel paper and electronic chattel paper, (e) documents, (f) letter of credit rights, (g) accounts, including
                        health-care insurance receivables and credit card receivables, (h) deposit accounts, (i) commercial tort claims, (j)
                        general intangibles, including payment intangibles and software and (k) as-extracted collateral as such terms
                        may from time to time be defined in the Uniform Commercial Code. The security interest Borrower grants
                        includes all accessions, attachments, accessories, parts, supplies and replacements for the Collateral, all
                        products, proceeds and collections thereof and all records and data relating thereto.

                   ·     For loan amounts of $25,000 or less, SBA is not taking a security interest in any collateral.




                                                                     Page 2 of 11
      SBA Form 1391 (5-00)                                                                                                            Ref 50 30
DocuSign Envelope ID: F039E63D-725A-4EAA-840D-4B8E183D2901
                Case 22-30690           Doc 8       Filed 05/04/22 Entered 05/04/22 12:06:24                      DescDoc # L-XX-XXXXXXX-01
                                                                                                                       Main
        SBA Loan #6467037908
                                                     Document     Page 40 of 68                                   Application #3300657360



         REQUIREMENTS RELATIVE TO COLLATERAL

                  ·   Borrower will not sell or transfer any collateral (except normal inventory turnover in the ordinary course of
                      business) described in the "Collateral" paragraph hereof without the prior written consent of SBA.

                  ·   Borrower will neither seek nor accept future advances under any superior liens on the collateral securing this
                      Loan without the prior written consent of SBA.

         USE OF LOAN PROCEEDS

                  ·   Borrower will use all the proceeds of this Loan solely as working capital to alleviate economic injury caused by
                      disaster occurring in the month of January 31, 2020 and continuing thereafter and to pay Uniform Commercial
                      Code (UCC) lien filing fees and a third-party UCC handling charge of $100 which will be deducted from the
                      Loan amount stated above.

         REQUIREMENTS FOR USE OF LOAN PROCEEDS AND RECEIPTS

                  ·   Borrower will obtain and itemize receipts (paid receipts, paid invoices or cancelled checks) and contracts for all
                      Loan funds spent and retain these receipts for 3 years from the date of the final disbursement. Prior to each
                      subsequent disbursement (if any) and whenever requested by SBA, Borrower will submit to SBA such
                      itemization together with copies of the receipts.

                  ·   Borrower will not use, directly or indirectly, any portion of the proceeds of this Loan to relocate without the


                                        In Process
                      prior written permission of SBA. The law prohibits the use of any portion of the proceeds of this Loan for
                      voluntary relocation from the business area in which the disaster occurred. To request SBA's prior written
                      permission to relocate, Borrower will present to SBA the reasons therefore and a description or address of the
                      relocation site. Determinations of (1) whether a relocation is voluntary or otherwise, and (2) whether any site
                      other than the disaster-affected location is within the business area in which the disaster occurred, will be made
                      solely by SBA.

                  ·   Borrower will, to the extent feasible, purchase only American-made equipment and products with the proceeds
                      of this Loan.

                  ·   Borrower will make any request for a loan increase for additional disaster-related damages as soon as possible
                      after the need for a loan increase is discovered. The SBA will not consider a request for a loan increase received
                      more than two (2) years from the date of loan approval unless, in the sole discretion of the SBA, there are
                      extraordinary and unforeseeable circumstances beyond the control of the borrower.

         DEADLINE FOR RETURN OF LOAN CLOSING DOCUMENTS

                  ·   Borrower will sign and return the loan closing documents to SBA within 2 months of the date of this Loan
                      Authorization and Agreement. By notifying the Borrower in writing, SBA may cancel this Loan if the
                      Borrower fails to meet this requirement. The Borrower may submit and the SBA may, in its sole discretion,
                      accept documents after 2 months of the date of this Loan Authorization and Agreement.

         COMPENSATION FROM OTHER SOURCES

                  ·    Eligibility for this disaster Loan is limited to disaster losses that are not compensated by other sources.
                        Other sources include but are not limited to: (1) proceeds of policies of insurance or other indemnifications,
                       (2) grants or other reimbursement (including loans) from government agencies or private organizations, (3)




                                                                   Page 3 of 11
      SBA Form 1391 (5-00)                                                                                                            Ref 50 30
DocuSign Envelope ID: F039E63D-725A-4EAA-840D-4B8E183D2901
                Case 22-30690           Doc 8       Filed 05/04/22 Entered 05/04/22 12:06:24                       DescDoc # L-XX-XXXXXXX-01
                                                                                                                        Main
        SBA Loan #6467037908
                                                     Document     Page 41 of 68                                    Application #3300657360



                       claims for civil liability against other individuals, organizations or governmental entities, and (4) salvage
                       (including any sale or re-use) of items of damaged property.

                  ·   Borrower will promptly notify SBA of the existence and status of any claim or application for such other
                      compensation, and of the receipt of any such compensation, and Borrower will promptly submit the proceeds
                      of same (not exceeding the outstanding balance of this Loan) to SBA.

                  ·   Borrower hereby assigns to SBA the proceeds of any such compensation from other sources and authorizes the
                      payor of same to deliver said proceeds to SBA at such time and place as SBA shall designate.

                  ·   SBA will in its sole discretion determine whether any such compensation from other sources is a duplication
                      of benefits. SBA will use the proceeds of any such duplication to reduce the outstanding balance of this Loan,
                      and Borrower agrees that such proceeds will not be applied in lieu of scheduled payments.

         DUTY TO MAINTAIN HAZARD INSURANCE

                  ·    Within 12 months from the date of this Loan Authorization and Agreement the Borrower will provide proof of
                      an active and in effect hazard insurance policy including fire, lightning, and extended coverage on all items used
                      to secure this loan to at least 80% of the insurable value. Borrower will not cancel such coverage and will
                      maintain such coverage throughout the entire term of this Loan. BORROWER MAY NOT BE ELIGIBLE
                      FOR EITHER ANY FUTURE DISASTER ASSISTANCE OR SBA FINANCIAL ASSISTANCE IF THIS
                      INSURANCE IS NOT MAINTAINED AS STIPULATED HEREIN THROUGHOUT THE ENTIRE
                      TERM OF THIS LOAN. Please submit proof of insurance to: U.S. Small Business Administration, Office of

                                        In Process
                      Disaster Assistance, 14925 Kingsport Rd, Fort Worth, TX. 76155.

         BOOKS AND RECORDS

                  ·   Borrower will maintain current and proper books of account in a manner satisfactory to SBA for the most recent
                      5 years until 3 years after the date of maturity, including extensions, or the date this Loan is paid in full,
                      whichever occurs first. Such books will include Borrower's financial and operating statements, insurance
                      policies, tax returns and related filings, records of earnings distributed and dividends paid and records of
                      compensation to officers, directors, holders of 10% or more of Borrower's capital stock, members, partners and
                      proprietors.

                  ·   Borrower authorizes SBA to make or cause to be made, at Borrower's expense and in such a manner and at such
                      times as SBA may require: (1) inspections and audits of any books, records and paper in the custody or control
                      of Borrower or others relating to Borrower's financial or business conditions, including the making of copies
                      thereof and extracts therefrom, and (2) inspections and appraisals of any of Borrower's assets.

                  ·   Borrower will furnish to SBA, not later than 3 months following the expiration of Borrower's fiscal year and in
                      such form as SBA may require, Borrower's financial statements.

                  ·   Upon written request of SBA, Borrower will accompany such statements with an 'Accountant's Review Report'
                      prepared by an independent public accountant at Borrower's expense.

                  ·   Borrower authorizes all Federal, State and municipal authorities to furnish reports of examination, records and
                      other information relating to the conditions and affairs of Borrower and any desired information from such
                      reports, returns, files, and records of such authorities upon request of SBA.




                                                                   Page 4 of 11
      SBA Form 1391 (5-00)                                                                                                             Ref 50 30
DocuSign Envelope ID: F039E63D-725A-4EAA-840D-4B8E183D2901
                Case 22-30690            Doc 8      Filed 05/04/22 Entered 05/04/22 12:06:24                        DescDoc # L-XX-XXXXXXX-01
                                                                                                                         Main
        SBA Loan #6467037908
                                                     Document     Page 42 of 68                                     Application #3300657360


         LIMITS ON DISTRIBUTION OF ASSETS

                  ·    Borrower will not, without the prior written consent of SBA, make any distribution of Borrower’s assets, or give
                       any preferential treatment, make any advance, directly or indirectly, by way of loan, gift, bonus, or otherwise, to
                       any owner or partner or any of its employees, or to any company directly or indirectly controlling or affiliated
                       with or controlled by Borrower, or any other company.

         EQUAL OPPORTUNITY REQUIREMENT

                  ·    If Borrower has or intends to have employees, Borrower will post SBA Form 722, Equal Opportunity Poster
                       (copy attached), in Borrower's place of business where it will be clearly visible to employees, applicants for
                       employment, and the general public.

         DISCLOSURE OF LOBBYING ACTIVITIES

                  ·    Borrower agrees to the attached Certification Regarding Lobbying Activities

         BORROWER’S CERTIFICATIONS

         Borrower certifies that:

                  ·    There has been no substantial adverse change in Borrower's financial condition (and organization, in case of a
                       business borrower) since the date of the application for this Loan. (Adverse changes include, but are not limited


                  ·                      In Process
                       to: judgment liens, tax liens, mechanic's liens, bankruptcy, financial reverses, arrest or conviction of felony, etc.)

                       No fees have been paid, directly or indirectly, to any representative (attorney, accountant, etc.) for services
                       provided or to be provided in connection with applying for or closing this Loan, other than those reported on
                       SBA Form 5 Business Disaster Loan Application'; SBA Form 3501 COVID-19 Economic Injury Disaster Loan
                       Application; or SBA Form 159, 'Compensation Agreement'. All fees not approved by SBA are prohibited.

                  ·     All representations in the Borrower's Loan application (including all supplementary submissions) are true,
                       correct and complete and are offered to induce SBA to make this Loan.

                  ·    No claim or application for any other compensation for disaster losses has been submitted to or requested of
                       any source, and no such other compensation has been received, other than that which Borrower has fully
                       disclosed to SBA.

                  ·    Neither the Borrower nor, if the Borrower is a business, any principal who owns at least 50% of the Borrower,
                       is delinquent more than 60 days under the terms of any: (a) administrative order; (b) court order; or (c)
                       repayment agreement that requires payment of child support.

                  ·    Borrower certifies that no fees have been paid, directly or indirectly, to any representative (attorney,
                       accountant, etc.) for services provided or to be provided in connection with applying for or closing this
                       Loan, other than those reported on the Loan Application. All fees not approved by SBA are prohibited.
                       If an Applicant chooses to employ an Agent, the compensation an Agent charges to and that is paid by
                       the Applicant must bear a necessary and reasonable relationship to the services actually performed and must
                       be comparable to those charged by other Agents in the geographical area. Compensation cannot be
                       contingent on loan approval. In addition, compensation must not include any expenses which are deemed
                       by SBA to be unreasonable for services actually performed or expenses actually incurred. Compensation
                       must not include




                                                                    Page 5 of 11
      SBA Form 1391 (5-00)                                                                                                             Ref 50 30
DocuSign Envelope ID: F039E63D-725A-4EAA-840D-4B8E183D2901
                Case 22-30690           Doc 8       Filed 05/04/22 Entered 05/04/22 12:06:24                        DescDoc # L-XX-XXXXXXX-01
                                                                                                                         Main
        SBA Loan #6467037908
                                                     Document     Page 43 of 68                                    Application #3300657360



                       charges prohibited in 13 CFR 103 or SOP 50-30, Appendix 1. If the compensation exceeds $500 for a
                       disaster home loan or $2,500 for a disaster business loan, Borrower must fill out the Compensation
                       Agreement Form 159D which will be provided for Borrower upon request or can be found on the
                       SBA website.

                  ·   Borrower certifies, to the best of its, his or her knowledge and belief, that the certifications and representations
                      in the attached Certification Regarding Lobbying are true, correct and complete and are offered to induce SBA
                      to make this Loan.

         CIVIL AND CRIMINAL PENALTIES

                  ·   Whoever wrongfully misapplies the proceeds of an SBA disaster loan shall be civilly liable to the Administrator
                      in an amount equal to one-and-one half times the original principal amount of the loan under 15 U.S.C. 636(b).
                      In addition, any false statement or misrepresentation to SBA may result in criminal, civil or administrative
                      sanctions including, but not limited to: 1) fines, imprisonment or both, under 15 U.S.C. 645, 18 U.S.C. 1001, 18
                      U.S.C. 1014, 18 U.S.C. 1040, 18 U.S.C. 3571, and any other applicable laws; 2) treble damages and civil
                      penalties under the False Claims Act, 31 U.S.C. 3729; 3) double damages and civil penalties under the Program
                      Fraud Civil Remedies Act, 31 U.S.C. 3802; and 4) suspension and/or debarment from all Federal procurement
                      and non-procurement transactions. Statutory fines may increase if amended by the Federal Civil Penalties
                      Inflation Adjustment Act Improvements Act of 2015.

         RESULT OF VIOLATION OF THIS LOAN AUTHORIZATION AND AGREEMENT

                  ·
                                        In Process
                      If Borrower violates any of the terms or conditions of this Loan Authorization and Agreement, the Loan will be
                      in default and SBA may declare all or any part of the indebtedness immediately due and payable. SBA's failure
                      to exercise its rights under this paragraph will not constitute a waiver.

                  ·   A default (or any violation of any of the terms and conditions) of any SBA Loan(s) to Borrower and/or its
                      affiliates will be considered a default of all such Loan(s).

         DISBURSEMENT OF THE LOAN

                  ·   Disbursements will be made by and at the discretion of SBA Counsel, in accordance with this Loan
                      Authorization and Agreement and the general requirements of SBA.

                  ·    Disbursements may be made in increments as needed.

                  ·    Other conditions may be imposed by SBA pursuant to general requirements of SBA.

                  ·   Disbursement may be withheld if, in SBA's sole discretion, there has been an adverse change in Borrower's
                      financial condition or in any other material fact represented in the Loan application, or if Borrower fails to
                      meet any of the terms or conditions of this Loan Authorization and Agreement.

                  ·   NO DISBURSEMENT WILL BE MADE LATER THAN 6 MONTHS FROM THE DATE OF THIS
                      LOAN AUTHORIZATION AND AGREEMENT UNLESS SBA, IN ITS SOLE DISCRETION,
                      EXTENDS THIS DISBURSEMENT PERIOD.




                                                                   Page 6 of 11
      SBA Form 1391 (5-00)                                                                                                             Ref 50 30
DocuSign Envelope ID: F039E63D-725A-4EAA-840D-4B8E183D2901
                Case 22-30690           Doc 8      Filed 05/04/22 Entered 05/04/22 12:06:24                     DescDoc # L-XX-XXXXXXX-01
                                                                                                                     Main
        SBA Loan #6467037908
                                                    Document     Page 44 of 68                                  Application #3300657360




         PARTIES AFFECTED

                  ·   This Loan Authorization and Agreement will be binding upon Borrower and Borrower's successors and
                      assigns and will inure to the benefit of SBA and its successors and assigns.

         RESOLUTION OF BOARD OF DIRECTORS

                  ·   Borrower shall, within 180 days of receiving any disbursement of this Loan, submit the appropriate SBA
                      Certificate and/or Resolution to the U.S. Small Business Administration, Office of Disaster Assistance, 14925
                      Kingsport Rd, Fort Worth, TX. 76155.

         ENFORCEABILITY

                  ·   This Loan Authorization and Agreement is legally binding, enforceable and approved upon Borrower’s
                      signature, the SBA’s approval and the Loan Proceeds being issued to Borrower by a government issued check or
                      by electronic debit of the Loan Proceeds to Borrower’ banking account provided by Borrower in application for
                      this Loan.




                                        In Process         James E. Rivera
                                                           Associate Administrator
                                                           U.S. Small Business Administration

          The undersigned agree(s) to be bound by the terms and conditions herein during the term of this Loan, and further agree(s)
          that no provision stated herein will be waived without prior written consent of SBA. Under penalty of perjury of the
          United States of America, I hereby certify that I am authorized to apply for and obtain a disaster loan on behalf of
          Borrower, in connection with the effects of the COVID-19 emergency.


                                       Gleason's Gymnastic School, Inc.


                                         {{0_SH}}

                                                                                                  Date:    06.16.2020

                                       Lawrence Gleason, Owner/Officer


          Note: Corporate Borrowers must execute Loan Authorization and Agreement in corporate name, by a duly authorized
          officer. Partnership Borrowers must execute in firm name, together with signature of a general partner. Limited Liability
          entities must execute in the entity name by the signature of the authorized managing person.




                                                                  Page 7 of 11
      SBA Form 1391 (5-00)                                                                                                        Ref 50 30
DocuSign Envelope ID: F039E63D-725A-4EAA-840D-4B8E183D2901
                Case 22-30690         Doc 8     Filed 05/04/22 Entered 05/04/22 12:06:24   DescDoc # L-XX-XXXXXXX-01
                                                                                                Main
        SBA Loan #6467037908
                                                 Document     Page 45 of 68                Application #3300657360




                     CERTIFICATION REGARDING LOBBYING


          For loans over $150,000, Congress requires recipients to agree to
          the following:

                  1. Appropriated funds may NOT be used for lobbying.

                  2. Payment of non-federal funds for lobbying must be reported on Form
                     SF-LLL.

                  3. Language of this certification must be incorporated into all
                     contracts and subcontracts exceeding $100,000.


                                      In Process
                  4. All contractors and subcontractors with contracts exceeding
                     $100,000 are required to certify and disclose accordingly.




                                                             Page 8 of 11
      SBA Form 1391 (5-00)
DocuSign Envelope ID: F039E63D-725A-4EAA-840D-4B8E183D2901
                Case 22-30690            Doc 8      Filed 05/04/22 Entered 05/04/22 12:06:24                        DescDoc # L-XX-XXXXXXX-01
                                                                                                                         Main
        SBA Loan #6467037908
                                                     Document     Page 46 of 68                                     Application #3300657360



                                                   CERTIFICATION REGARDING
                                                           LOBBYING

                                        Certification for Contracts, Grants, Loans, and Cooperative
                                                                Agreements


                 Borrower and all Guarantors (if any) certify, to the best of its, his or her knowledge and belief, that:

                 (1)    No Federal appropriated funds have been paid or will be paid, by or on behalf of the undersigned, to
                 any person for influencing or attempting to influence an officer or employee of any agency, a Member of
                 Congress, an officer or employee of Congress, or an employee of a Member of Congress in connection
                 with awarding of any Federal contract, the making of any Federal grant, the making of any Federal loan,
                 the entering into of any cooperative agreement, and the extension, continuation, renewal, or modification of
                 any Federal contract, grant, loan, or cooperative agreement.

                 (2)    If any funds other than Federal appropriated funds have been paid or will be paid to any person for
                 influencing or attempting to influence an officer or employee of any agency, a Member of Congress, an
                 officer or employee of Congress, or an employee of a Member of Congress in connection with this Federal
                 loan, the undersigned shall complete and submit Standard Form LLL, "Disclosure Form to Report
                 Lobbying," in accordance with its instructions.

                 (3) The undersigned shall require that the language of this certification be included in the award

                                         In Process
                 documents for all sub-awards at all tiers (including subcontracts, sub-grants, and contracts under grants,
                 loans, and co-operative agreements) and that all sub-recipients shall certify and disclose accordingly.

                 This certification is a material representation of fact upon which reliance was placed when this transaction
                 was made or entered into. Submission of this certification is a prerequisite for making or entering into this
                 transaction imposed by Section 1352, Title 31, U.S. Code. Any person who fails to file the required
                 certification shall be subject to a civil penalty of not less than $10,000.00 and not more than $100,000.00
                 for each such failure.




                                                                    Page 9 of 11
      SBA Form 1391 (5-00)
DocuSign Envelope ID: F039E63D-725A-4EAA-840D-4B8E183D2901
                  Case 22-30690                  Doc 8          Filed 05/04/22 Entered 05/04/22 12:06:24           DescDoc # L-XX-XXXXXXX-01
                                                                                                                        Main
        SBA Loan #6467037908
                                                                 Document     Page 47 of 68                        Application #3300657360



                                                             This Statement of Policy is Posted

                                                          In Accordance with Regulations of the

                                                  Small Business Administration
                                                               This Organization Practices

                                                   Equal Employment Opportunity
                    We do not discriminate on the ground of race, color, religion, sex, age, disability
                    or national origin in the hiring, retention, or promotion of employees; nor in
                    determining their rank, or the compensation or fringe benefits paid them.

                                                                This Organization Practices

                                                          Equal Treatment of Clients

                                                 In Process
                    We do not discriminate on the basis of race, color, religion, sex, marital status,
                    disability, age or national origin in services or accommodations offered or
                    provided to our employees, clients or guests.

                                        These policies and this notice comply with regulations of the
                                                        United States Government.

                                        Please report violations of this policy to:

                                                                         Administrator
                                                                         Small Business Administration
                                                                         Washington, D.C. 20416

                     In order for the public and your employees to know their rights under 13 C.F.R Parts 112, 113, and 117, Small
                    Business Administration Regulations, and to conform with the directions of the Administrator of SBA, this poster
                    must be displayed where it is clearly visible to employees, applicants for employment, and the public.

                     Failure to display the poster as required in accordance with SBA Regulations may be considered evidence of
                    noncompliance and subject you to the penalties contained in those Regulations.




                                                                         Page 10 of 11
      SBA FORM 722 (10-02) REF: SOP 9030            PREVIOUS EDITIONS ARE OBSOLETE       U.S. GOVERNMENT PRINTING OFFICE: 1994 0- 153-346
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                  Case 22-30690                  Doc 8          Filed 05/04/22 Entered 05/04/22 12:06:24            DescDoc # L-XX-XXXXXXX-01
                                                                                                                         Main
        SBA Loan #6467037908
                                                                 Document     Page 48 of 68                         Application #3300657360




                                                    Esta Declaración De Principios Se Publica
                                                     De Acuerdo Con Los Reglamentos De La

                                  Agencia Federal Para el Desarrollo de la Pequeña Empresa

                                                                     Esta Organización Practica

                                                 Igual Oportunidad De Empleo
                 No discriminamos por razón de raza, color, religión, sexo, edad, discapacidad o
                 nacionalidad en el empleo, retención o ascenso de personal ni en la determinación
                 de sus posiciones, salarios o beneficios marginales.

                                                                      Esta Organización Practica

                  Igualdad En El Trato A Su Clientela
                 No discriminamos por razón de raza, color, religión, sexo, estado civil,

                                                 In Process
                 edad, discapacidad o nacionalidad en los servicios o facilidades provistos para
                 nuestros empleados, clientes o visitantes.
                       Estos principios y este aviso cumplen con los reglamentos del Gobierno
                                           de los Estados Unidos de América.
                                     Favor de informar violaciones a lo aquí indicado a:

                                                                    Administrador
                                                                    Agencia Federal Para el Desarrollo de la
                                                                    Pequeña Empresa
                                                                    Washington, D.C. 20416
                       A fin de que el público y sus empleados conozcan sus derechos según lo expresado en las Secciones 112,
                      113 y 117 del Código de Regulaciaones Federales No. 13, de los Reglamentos de la Agencja Federal Para
                      el Desarrollo de la Pequeña Empresa y de acuerdo con las instrucciones del Administrador de dicha
                      agencia,
                      esta notificación debe fijarse en un lugar claramente visible para los empleados, solicitantes de empleo y
                      público en general. No fijar esta notificación según lo requerido por los reglamentos de la Agencia Federal
                      Para el Desarrollo de la Pequeña Empresa, puede ser interpretado como evidencia de falta de cumplimiento
                      de los mismos y conllevará la ejecución de los castigos impuestos en estos reglamentos.




                                                                            Page 11 of 11
      SBA FORM 722 (10-02) REF: SOP 9030            PREVIOUS EDITIONS ARE OBSOLETE          U.S. GOVERNMENT PRINTING OFFICE: 1994 0- 153-346
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               Case 22-30690          Doc 8     Filed 05/04/22 Entered 05/04/22 12:06:24         DescDoc # L-XX-XXXXXXX-01
                                                                                                      Main
        SBA Loan #6467037908
                                                 Document     Page 49 of 68                     Application #3300657360




                                                             NOTE

                                         A PROPERLY SIGNED NOTE IS
                                           REQUIRED PRIOR TO ANY
                                               DISBURSEMENT



         CAREFULLY READ THE NOTE: It is your promise to repay the loan.

                     ·    The Note is pre-dated. DO NOT CHANGE THE DATE OF THE NOTE.
                     ·    LOAN PAYMENTS will be due as stated in the Note.
                     ·    ANY CORRECTIONS OR UNAUTHORIZED MARKS MAY VOID THIS
                          DOCUMENT.


                                      In Process
         SIGNING THE NOTE: All borrowers must sign the Note.
                     ·    Sign your name exactly as it appears on the Note. If typed incorrectly, you should sign
                          with the correct spelling.
                     ·    If your middle initial appears on the signature line, sign with your middle initial.
                     ·    If a suffix appears on the signature line, such as Sr. or Jr., sign with your suffix.
                     ·    Corporate Signatories: Authorized representatives should sign the signature page.
DocuSign Envelope ID: F039E63D-725A-4EAA-840D-4B8E183D2901
                  Case 22-30690          Doc 8      Filed 05/04/22 Entered 05/04/22 12:06:24                       DescDoc # L-XX-XXXXXXX-01
                                                                                                                        Main
        SBA Loan #6467037908
                                                     Document     Page 50 of 68                                    Application #3300657360


                                                       U.S. Small Business Administration            Date: 06.16.2020



                                                                      NOTE                           Loan Amount: $150,000.00


                                                           (SECURED DISASTER LOANS)                  Annual Interest Rate: 3.75%


        SBA Loan # 6467037908                                                                                  Application #3300657360

             1.    PROMISE TO PAY: In return for a loan, Borrower promises to pay to the order of SBA the amount of one
                   hundred and fifty thousand and 00/100 Dollars ($150,000.00), interest on the unpaid principal balance, and all
                   other amounts required by this Note.

             2.    DEFINITIONS: A) “Collateral” means any property taken as security for payment of this Note or any guarantee of
                   this Note. B) “Guarantor” means each person or entity that signs a guarantee of payment of this Note. C) “Loan
                   Documents” means the documents related to this loan signed by Borrower, any Guarantor, or anyone who pledges
                   collateral.

             3.    PAYMENT TERMS: Borrower must make all payments at the place SBA designates. Borrower may prepay this
                   Note in part or in full at any time, without notice or penalty. Borrower must pay principal and interest payments of
                   $731.00 every month beginning Twelve (12) months from the date of the Note. SBA will apply each installment
                   payment first to pay interest accrued to the day SBA receives the payment and will then apply any remaining balance



             4.
                                         In Process
                   to reduce principal. All remaining principal and accrued interest is due and payable Thirty (30) years from the date
                   of the Note.

                   DEFAULT: Borrower is in default under this Note if Borrower does not make a payment when due under this Note,
                   or if Borrower: A) Fails to comply with any provision of this Note, the Loan Authorization and Agreement, or other
                   Loan Documents; B) Defaults on any other SBA loan; C) Sells or otherwise transfers, or does not preserve or
                   account to SBA’s satisfaction for, any of the Collateral or its proceeds; D) Does not disclose, or anyone acting on
                   their behalf does not disclose, any material fact to SBA; E) Makes, or anyone acting on their behalf makes, a
                   materially false or misleading representation to SBA; F) Defaults on any loan or agreement with another creditor, if
                   SBA believes the default may materially affect Borrower’s ability to pay this Note; G) Fails to pay any taxes when
                   due; H) Becomes the subject of a proceeding under any bankruptcy or insolvency law; I) Has a receiver or liquidator
                   appointed for any part of their business or property; J) Makes an assignment for the benefit of creditors; K) Has any
                   adverse change in financial condition or business operation that SBA believes may materially affect Borrower’s
                   ability to pay this Note; L) Dies; M) Reorganizes, merges, consolidates, or otherwise changes ownership or business
                   structure without SBA’s prior written consent; or, N) Becomes the subject of a civil or criminal action that SBA
                   believes may materially affect Borrower’s ability to pay this Note.

             5.    SBA’S RIGHTS IF THERE IS A DEFAULT: Without notice or demand and without giving up any of its rights,
                   SBA may: A) Require immediate payment of all amounts owing under this Note; B) Have recourse to collect all
                   amounts owing from any Borrower or Guarantor (if any); C) File suit and obtain judgment; D) Take possession of
                   any Collateral; or E) Sell, lease, or otherwise dispose of, any Collateral at public or private sale, with or without
                   advertisement.

             6. SBA’S GENERAL POWERS: Without notice and without Borrower’s consent, SBA may: A) Bid on or buy the
                 Collateral at its sale or the sale of another lienholder, at any price it chooses; B) Collect amounts due under this Note,
                 enforce the terms of this Note or any other Loan Document, and preserve or dispose of the Collateral. Among other
                 things, the expenses may include payments for property taxes, prior liens, insurance, appraisals, environmental
                 remediation costs, and reasonable attorney’s fees and costs. If SBA incurs such expenses, it may demand immediate
                 reimbursement from Borrower or add the expenses to the principal balance; C) Release anyone obligated to pay this
                 Note; D) Compromise, release, renew, extend or substitute any of the Collateral; and E) Take any action necessary to
                 protect the Collateral or collect amounts owing on this Note.




                                                                    Page 2 of 3
      SBA FORM 147 B (5-00)
DocuSign Envelope ID: F039E63D-725A-4EAA-840D-4B8E183D2901
                  Case 22-30690           Doc 8       Filed 05/04/22 Entered 05/04/22 12:06:24                        DescDoc # L-XX-XXXXXXX-01
                                                                                                                           Main
        SBA Loan #6467037908
                                                       Document     Page 51 of 68                                     Application #3300657360



             7.    FEDERAL LAW APPLIES: When SBA is the holder, this Note will be interpreted and enforced under federal law,
                   including SBA regulations. SBA may use state or local procedures for filing papers, recording documents, giving
                   notice, foreclosing liens, and other purposes. By using such procedures, SBA does not waive any federal immunity
                   from state or local control, penalty, tax, or liability. As to this Note, Borrower may not claim or assert against SBA
                   any local or state law to deny any obligation, defeat any claim of SBA, or preempt federal law.

             8.    GENERAL PROVISIONS: A) All individuals and entities signing this Note are jointly and severally liable. B)
                   Borrower waives all suretyship defenses. C) Borrower must sign all documents required at any time to comply with
                   the Loan Documents and to enable SBA to acquire, perfect, or maintain SBA’s liens on Collateral. D) SBA may
                   exercise any of its rights separately or together, as many times and in any order it chooses. SBA may delay or forgo
                   enforcing any of its rights without giving up any of them. E) Borrower may not use an oral statement of SBA to
                   contradict or alter the written terms of this Note. F) If any part of this Note is unenforceable, all other parts remain in
                   effect. G) To the extent allowed by law, Borrower waives all demands and notices in connection with this Note,
                   including presentment, demand, protest, and notice of dishonor. Borrower also waives any defenses based upon any
                   claim that SBA did not obtain any guarantee; did not obtain, perfect, or maintain a lien upon Collateral; impaired
                   Collateral; or did not obtain the fair market value of Collateral at a sale. H) SBA may sell or otherwise transfer this
                   Note.

             9. MISUSE OF LOAN FUNDS: Anyone who wrongfully misapplies any proceeds of the loan will be civilly liable to
                SBA for one and one- half times the proceeds disbursed, in addition to other remedies allowed by law.

             10. BORROWER’S NAME(S) AND SIGNATURE(S): By signing below, each individual or entity acknowledges and
                 accepts personal obligation and full liability under the Note as Borrower.


                                          In Process
                                            Gleason's Gymnastic School, Inc.


                                            {{0_SH}}

                                            Lawrence Gleason, Owner/Officer




                                                                      Page 3 of 3
      SBA FORM 147 B (5-00)
DocuSign Envelope ID: F039E63D-725A-4EAA-840D-4B8E183D2901
               Case 22-30690          Doc 8     Filed 05/04/22 Entered 05/04/22 12:06:24   DescDoc # L-XX-XXXXXXX-01
                                                                                                Main
        SBA Loan #6467037908
                                                 Document     Page 52 of 68                Application #3300657360




                                        SECURITY AGREEMENT


         Read this document carefully. It grants the SBA a security interest (lien) in all
         the property described in paragraph 4.


         This document is predated. DO NOT CHANGE THE DATE ON THIS
         DOCUMENT.




                                      In Process
DocuSign Envelope ID: F039E63D-725A-4EAA-840D-4B8E183D2901
                 Case 22-30690               Doc 8        Filed 05/04/22 Entered 05/04/22 12:06:24               DescDoc # L-XX-XXXXXXX-01
                                                                                                                      Main
        SBA Loan #6467037908
                                                           Document     Page 53 of 68                            Application #3300657360




                                                                    U.S. Small Business Administration
                                                                     SECURITY AGREEMENT



         SBA Loan #:                  6467037908


         Borrower:                    Gleason's Gymnastic School, Inc.


         Secured Party:               The Small Business Administration, an Agency of the U.S. Government

         Date:                        06.16.2020


         Note Amount:
                                             In Process
                                      $150,000.00



         1.         DEFINITIONS.

                   Unless otherwise specified, all terms used in this Agreement will have the meanings ascribed to them under the
                   Official Text of the Uniform Commercial Code, as it may be amended from time to time, (“UCC”). “SBA”
                   means the Small Business Administration, an Agency of the U.S. Government.

         2.         GRANT OF SECURITY INTEREST.

                   For value received, the Borrower grants to the Secured Party a security interest in the property described below
                   in paragraph 4 (the “Collateral”).

         3.         OBLIGATIONS SECURED.

                   This Agreement secures the payment and performance of: (a) all obligations under a Note dated 06.16.2020,
                   made by Gleason's Gymnastic School, Inc. , made payable to Secured Lender, in the amount of $150,000.00
                   (“Note”), including all costs and expenses (including reasonable attorney’s fees), incurred by Secured Party in
                   the disbursement, administration and collection of the loan evidenced by the Note; (b) all costs and expenses
                   (including reasonable attorney’s fees), incurred by Secured Party in the protection, maintenance and
                   enforcement of the security interest hereby granted; (c) all obligations of the Borrower in any other agreement
                   relating to the Note; and (d) any modifications, renewals, refinancings, or extensions of the foregoing
                   obligations.

         4.         COLLATERAL DESCRIPTION.

                   The Collateral in which this security interest is granted includes the following property that Borrower now owns
                   or shall acquire or create immediately upon the acquisition or creation thereof: all tangible




                                                                    Page 2 of 5
      SBA Form 1059 (09-19) Previous Editions are obsolete.
DocuSign Envelope ID: F039E63D-725A-4EAA-840D-4B8E183D2901
                 Case 22-30690               Doc 8        Filed 05/04/22 Entered 05/04/22 12:06:24                 DescDoc # L-XX-XXXXXXX-01
                                                                                                                        Main
        SBA Loan #6467037908
                                                           Document     Page 54 of 68                              Application #3300657360


                   and intangible personal property, including, but not limited to: (a) inventory, (b) equipment, (c) instruments,
                   including promissory notes (d) chattel paper, including tangible chattel paper and electronic chattel paper, (e)
                   documents, (f) letter of credit rights, (g) accounts, including health-care insurance receivables and credit card
                   receivables, (h) deposit accounts, (i) commercial tort claims, (j) general intangibles, including payment intangibles
                   and software and (k) as-extracted collateral as such terms may from time to time be defined in the Uniform
                   Commercial Code. The security interest Borrower grants includes all accessions, attachments, accessories,
                   parts, supplies and replacements for the Collateral, all products, proceeds and collections thereof and all records
                   and data relating thereto.

         5.         RESTRICTIONS ON COLLATERAL TRANSFER.

                   Borrower will not sell, lease, license or otherwise transfer (including by granting security interests, liens, or
                   other encumbrances in) all or any part of the Collateral or Borrower’s interest in the Collateral without Secured
                   Party’s written or electronically communicated approval, except that Borrower may sell inventory in the
                   ordinary course of business on customary terms. Borrower may collect and use amounts due on accounts and
                   other rights to payment arising or created in the ordinary course of business, until notified otherwise by Secured
                   Party in writing or by electronic communication.

         6.         MAINTENANCE AND LOCATION OF COLLATERAL; INSPECTION; INSURANCE.

                   Borrower must promptly notify Secured Party by written or electronic communication of any change in location
                   of the Collateral, specifying the new location. Borrower hereby grants to Secured Party the right to inspect the
                   Collateral at all reasonable times and upon reasonable notice. Borrower must: (a) maintain the Collateral in
                   good condition; (b) pay promptly all taxes, judgments, or charges of any kind levied or assessed thereon; (c)


                                             In Process
                   keep current all rent or mortgage payments due, if any, on premises where the Collateral is located; and (d)
                   maintain hazard insurance on the Collateral, with an insurance company and in an amount approved by Secured
                   Party (but in no event less than the replacement cost of that Collateral), and including such terms as Secured
                   Party may require including a Lender’s Loss Payable Clause in favor of Secured Party. Borrower hereby assigns
                   to Secured Party any proceeds of such policies and all unearned premiums thereon and authorizes and empowers
                   Secured Party to collect such sums and to execute and endorse in Borrower’s name all proofs of loss, drafts,
                   checks and any other documents necessary for Secured Party to obtain such payments.

         7.        CHANGES TO BORROWER’S LEGAL STRUCTURE, PLACE OF BUSINESS, JURISDICTION
                   OF ORGANIZATION, OR NAME.

                   Borrower must notify Secured Party by written or electronic communication not less than 30 days before taking
                   any of the following actions: (a) changing or reorganizing the type of organization or form under which it does
                   business; (b) moving, changing its place of business or adding a place of business; (c) changing its jurisdiction
                   of organization; or (d) changing its name. Borrower will pay for the preparation and filing of all documents
                   Secured Party deems necessary to maintain, perfect and continue the perfection of Secured Party’s security
                   interest in the event of any such change.

         8.         PERFECTION OF SECURITY INTEREST.

                   Borrower consents, without further notice, to Secured Party’s filing or recording of any documents necessary to
                   perfect, continue, amend or terminate its security interest. Upon request of Secured Party, Borrower must sign or
                   otherwise authenticate all documents that Secured Party deems necessary at any time to allow Secured Party to
                   acquire, perfect, continue or amend its security interest in the Collateral. Borrower will pay the filing and recording
                   costs of any documents relating to Secured Party’s security interest. Borrower ratifies all previous filings and
                   recordings, including financing statements and




                                                                    Page 3 of 5
      SBA Form 1059 (09-19) Previous Editions are obsolete.
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                 Case 22-30690               Doc 8        Filed 05/04/22 Entered 05/04/22 12:06:24                 DescDoc # L-XX-XXXXXXX-01
                                                                                                                        Main
        SBA Loan #6467037908
                                                           Document     Page 55 of 68                              Application #3300657360



                    notations on certificates of title. Borrower will cooperate with Secured Party in obtaining a Control Agreement
                    satisfactory to Secured Party with respect to any Deposit Accounts or Investment Property, or in otherwise obtaining
                    control or possession of that or any other Collateral.

         9.        DEFAULT.

                    Borrower is in default under this Agreement if: (a) Borrower fails to pay, perform or otherwise comply with any
                    provision of this Agreement; (b) Borrower makes any materially false representation, warranty or certification
                    in, or in connection with, this Agreement, the Note, or any other agreement related to the Note or this
                    Agreement; (c) another secured party or judgment creditor exercises its rights against the Collateral; or (d) an
                    event defined as a “default” under the Obligations occurs. In the event of default and if Secured Party requests,
                    Borrower must assemble and make available all Collateral at a place and time designated by Secured Party.
                    Upon default and at any time thereafter, Secured Party may declare all Obligations secured hereby immediately
                    due and payable, and, in its sole discretion, may proceed to enforce payment of same and exercise any of the
                    rights and remedies available to a secured party by law including those available to it under Article 9 of the
                    UCC that is in effect in the jurisdiction where Borrower or the Collateral is located. Unless otherwise required
                    under applicable law, Secured Party has no obligation to clean or otherwise prepare the Collateral for sale or
                    other disposition and Borrower waives any right it may have to require Secured Party to enforce the security
                    interest or payment or performance of the Obligations against any other person.

         10.        FEDERAL RIGHTS.

                    When SBA is the holder of the Note, this Agreement will be construed and enforced under federal law,
                    including SBA regulations. Secured Party or SBA may use state or local procedures for filing papers, recording

                                             In Process
                    documents, giving notice, enforcing security interests or liens, and for any other purposes. By using such
                    procedures, SBA does not waive any federal immunity from state or local control, penalty, tax or liability. As to
                    this Agreement, Borrower may not claim or assert any local or state law against SBA to deny any obligation,
                    defeat any claim of SBA, or preempt federal law.

         11.        GOVERNING LAW.

                    Unless SBA is the holder of the Note, in which case federal law will govern, Borrower and Secured Party agree
                    that this Agreement will be governed by the laws of the jurisdiction where the Borrower is located, including the
                    UCC as in effect in such jurisdiction and without reference to its conflicts of laws principles.

         12.        SECURED PARTY RIGHTS.

                    All rights conferred in this Agreement on Secured Party are in addition to those granted to it by law, and all
                    rights are cumulative and may be exercised simultaneously. Failure of Secured Party to enforce any rights or
                    remedies will not constitute an estoppel or waiver of Secured Party’s ability to exercise such rights or remedies.
                    Unless otherwise required under applicable law, Secured Party is not liable for any loss or damage to Collateral
                    in its possession or under its control, nor will such loss or damage reduce or discharge the Obligations that are
                    due, even if Secured Party’s actions or inactions caused or in any way contributed to such loss or damage.

         13.        SEVERABILITY.

                    If any provision of this Agreement is unenforceable, all other provisions remain in effect.




                                                                     Page 4 of 5
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                 Case 22-30690               Doc 8        Filed 05/04/22 Entered 05/04/22 12:06:24                   DescDoc # L-XX-XXXXXXX-01
                                                                                                                          Main
        SBA Loan #6467037908
                                                           Document     Page 56 of 68                                Application #3300657360



         14.        BORROWER CERTIFICATIONS.

                    Borrower certifies that: (a) its Name (or Names) as stated above is correct; (b) all Collateral is owned or titled in
                    the Borrower’s name and not in the name of any other organization or individual; (c) Borrower has the legal
                    authority to grant the security interest in the Collateral; (d) Borrower’s ownership in or title to the Collateral is
                    free of all adverse claims, liens, or security interests (unless expressly permitted by Secured Party); (e) none of
                    the Obligations are or will be primarily for personal, family or household purposes; (f) none of the Collateral is
                    or will be used, or has been or will be bought primarily for personal, family or household purposes; (g)
                    Borrower has read and understands the meaning and effect of all terms of this Agreement.

         15.        BORROWER NAME(S) AND SIGNATURE(S).

                    By signing or otherwise authenticating below, each individual and each organization becomes jointly and
                    severally obligated as a Borrower under this Agreement.




                                    Gleason's Gymnastic School, Inc.


                                    {{0_SH}}

                                             In Process
                                    Lawrence Gleason, Owner/Officer
                                                                                        Date:
                                                                                                    06.16.2020




                                                                      Page 5 of 5
      SBA Form 1059 (09-19) Previous Editions are obsolete.
Case 22-30690   Doc 8   Filed 05/04/22 Entered 05/04/22 12:06:24   Desc Main
                         Document     Page 57 of 68
  Case 22-30690      Doc 8     Filed 05/04/22 Entered 05/04/22 12:06:24            Desc Main
                                Document     Page 58 of 68



             Description of collateral and values on date of filing and beginning of
                   Use of cash collateral and at end of cash collateral period

______________________________________________________________________________

                     Value as of            Value as of     Value as of
                     Filing date            End of 21 days  End of cash
                                                            Collateral period
                                                            (December 31, 2022)
______________________________________________________________________________

Current Assets:

Bank accounts        $446,059.64            $446,059.64                    $446,059.64
(net)

Accounts          $11,816.88        $11,816.88              $11,816.88
 Receivable
______________________________________________________________________________

Total current assets $457,876.52    $457,876.52             $457,876.52
______________________________________________________________________________

Property and Equipment

Pro shop inventory   $4,223.02              $4,223.02                      $4,223.02

Office equipment     $13,687.77             $13,687.77                     $13,687.77

Gymnastic            $37,491.79             $37,491.79                     $37,491.79
 equipment

Security deposits $9,300.00         $9,300.00               $9,300.00
______________________________________________________________________________

Total Property &  $64,702.58        $64,702.58              $64,702.58
 Equipment
______________________________________________________________________________

TOTAL ASSETS      $522,579.10       $522,579.10             $522,579.10
______________________________________________________________________________




                                       Exhibit C
                                         Case 22-30690                         Doc 8          Filed 05/04/22 Entered 05/04/22 12:06:24                                              Desc Main
                                                                                                    Gleason’s Gymnastic School                                                                                                               5/3/2022
                                                                                               Document           Page 59 of 68
                                                                                                        Cash Flow Projections
                                                                                                              Nov 2021 - Dec 2022
 GLEASON'S INCOME/EXPENSE                    2021                                                                                                     2022
         PROJECTIONS             November       December           January       February        March           April          May      June        July        August      September    October      November     December
Cash Balance (starting 10/31)   $ 413,294.63   $ 429,405.77     $ 435,851.91   $ 441,960.99   $ 454,835.82   $ 460,806.03   $ 442,037.12 $425,225.85 $392,738.72 $353,680.83 $ 326,912.12 $ 324,234.08 $ 336,434.77 $ 341,063.59

Income
   Services                     $ 129,872.76   $ 129,872.76     $ 139,872.76   $ 139,872.76   $ 139,872.76   $ 114,097.17   $ 101,810.94   $ 85,400.38    $ 75,875.57    $ 91,791.52    $ 121,767.31   $ 145,718.44    $ 134,571.57    $ 126,296.67
Cost of Goods Sold
      COGS                      $ 60,000.00    $    58,000.00   $ 60,000.00    $ 60,000.00    $ 60,000.00    $ 60,000.00    $ 55,000.00    $ 50,000.00    $ 45,000.00    $ 50,000.00    $ 55,000.00    $   60,000.00   $   60,000.00   $ 58,000.00
Gross Profit                    $ 69,872.76    $    71,872.76   $ 79,872.76    $ 79,872.76    $ 79,872.76    $ 54,097.17    $ 46,810.94    $ 35,400.38    $ 30,875.57    $ 41,791.52    $ 66,767.31    $   85,718.44   $   74,571.57   $ 68,296.67

Expenses
   Payroll (Admin/Office)       $ 23,584.88    $    23,584.88   $ 23,584.88    $ 23,584.88    $ 23,584.88    $ 23,584.88    $ 23,584.88    $ 23,584.88    $ 23,584.88    $ 23,584.88    $ 25,600.00    $   25,600.00   $   25,600.00   $ 25,600.00
   Repairs & Maintenance        $    279.88    $       279.88   $    279.88    $    279.88    $    279.88    $    279.88    $    279.88    $    279.88    $    279.88    $    279.88    $    279.88    $      279.88   $      279.88   $    279.88
   Rent Expense                 $ 22,161.79    $    22,161.79   $ 22,161.79    $ 22,161.79    $ 22,661.80    $ 22,661.80    $ 22,661.80    $ 22,661.80    $ 22,661.80    $ 22,661.80    $ 22,661.80    $   22,661.80   $   22,661.80   $ 22,661.80
   Advertising                  $     75.00    $        75.00   $     75.00    $     75.00    $     75.00    $     75.00    $     75.00    $     75.00    $     75.00    $     75.00    $     75.00    $       75.00   $       75.00   $     75.00
   Retirement Contributions     $       -      $          -     $       -      $       -      $ 3,000.00     $       -      $       -      $       -      $       -      $       -      $       -      $         -     $         -     $       -
   Dues & Subscriptions         $    100.00    $       100.00   $ 2,100.00     $    100.00    $    100.00    $ 2,100.00     $    100.00    $    400.00    $ 2,400.00     $    400.00    $    400.00    $    2,400.00   $      200.00   $    100.00
   Gym Equipment                $       -      $          -     $       -      $       -      $ 1,500.00     $       -      $       -      $       -      $       -      $       -      $ 1,500.00                     $         -     $       -
   Gym Expense                  $ 1,000.00     $     1,000.00   $ 1,000.00     $ 1,000.00     $ 1,000.00     $ 1,000.00     $ 1,000.00     $ 1,000.00     $ 1,000.00     $ 1,000.00     $ 1,000.00     $    1,000.00   $    1,000.00   $ 1,000.00
   Insurance-Gym                $    415.00                     $ 4,207.06     $ 3,537.76     $ 3,943.26     $ 3,532.76     $    396.20    $ 1,200.20     $       -      $       -      $       -      $      415.00   $         -     $       -
   Insurance-Workers Comp       $    790.00    $          -     $       -      $    790.00    $       -      $       -      $    790.00    $ 1,500.00     $       -      $ 5,000.00     $       -      $         -     $      790.00   $       -
   Janitorial                   $     70.03    $     2,820.03   $     70.03    $     70.03    $ 2,820.03     $     70.03    $     70.03    $ 2,820.03     $     70.03    $     70.03    $ 2,820.03     $       70.03   $    2,820.03   $     70.03
   Office Expense               $    283.85    $       283.85   $    283.85    $    283.85    $    283.85    $    283.85    $    283.85    $    283.85    $    283.85    $    283.85    $    283.85    $      283.85   $      283.85   $    283.85
   Payroll Services             $    840.00    $       840.00   $    840.00    $    840.00    $    840.00    $    840.00    $    840.00    $    840.00    $    840.00    $    840.00    $    840.00    $      840.00   $      840.00   $    840.00
   Postage                      $       -      $       120.00   $       -      $       -      $    120.00    $       -      $       -      $    120.00    $       -      $       -      $    120.00    $         -     $         -     $    120.00
   Professional Fees            $       -      $          -     $ 5,000.00     $       -      $       -      $ 5,000.00     $       -      $       -      $ 5,000.00     $       -      $       -      $    5,000.00   $         -     $       -
   Technology                   $ 1,400.00     $     1,400.00   $ 1,400.00     $ 1,400.00     $ 1,400.00     $ 1,400.00     $ 1,400.00     $ 1,400.00     $ 1,400.00     $ 1,400.00     $ 1,400.00     $    1,400.00   $    1,400.00   $ 1,400.00
   Telecommunications           $    635.00    $       635.00   $    635.00    $    635.00    $    635.00    $    635.00    $    635.00    $    635.00    $    635.00    $    635.00    $    635.00    $      635.00   $      635.00   $    635.00
   Travel                       $       -      $          -     $       -      $    500.00    $       -      $       -      $    500.00    $       -      $       -      $    500.00    $       -      $         -     $      500.00   $       -
   Utilities                    $ 1,931.31     $     1,931.31   $ 1,931.31     $ 1,544.86     $ 1,463.97     $ 1,208.00     $    810.69    $    891.99    $    777.14    $    903.91    $    903.91    $    1,931.31   $    1,931.31   $ 1,931.31
   Waste Removal                $    194.88    $       194.88   $    194.88    $    194.88    $    194.88    $    194.88    $    194.88    $    194.88    $    194.88    $    194.88    $    194.88    $      194.88   $      194.88   $    194.88
Total Expenses                  $ 53,761.62    $    55,426.62   $ 63,763.68    $ 56,997.93    $ 63,902.55    $ 62,866.08    $ 53,622.21    $ 57,887.51    $ 59,202.46    $ 57,829.23    $ 58,714.35    $   62,786.75   $   59,211.75   $ 55,191.75

Net Income                      $ 16,111.14    $    16,446.14   $ 16,109.08    $ 22,874.83    $ 15,970.21    $ (8,768.91) $ (6,811.27) $ (22,487.13) $ (28,326.89) $ (16,037.71) $          8,052.96   $   22,931.69   $   15,359.82   $ 13,104.92

Cash Balance                    $ 429,405.77   $ 445,851.91     $ 451,960.99   $ 464,835.82   $ 470,806.03   $ 452,037.12   $ 435,225.85   $ 402,738.72   $ 364,411.83   $ 337,643.12   $ 334,965.08   $ 347,165.77    $ 351,794.59    $ 354,168.51

Payments
   Amex                         $        -     $    10,000.00   $ 10,000.00    $ 10,000.00    $ 10,000.00    $ 10,000.00    $ 10,000.00    $ 10,000.00    $ 10,000.00    $ 10,000.00    $ 10,000.00    $   10,000.00   $   10,000.00   $ 10,000.00
   SBA Loan                                                                                                                                               $    731.00    $    731.00    $    731.00    $      731.00   $      731.00   $    731.00
   Unsecured Debt
Total Payments                  $        -     $    10,000.00   $ 10,000.00    $ 10,000.00    $ 10,000.00    $ 10,000.00    $ 10,000.00    $ 10,000.00    $ 10,731.00    $ 10,731.00    $ 10,731.00    $   10,731.00   $   10,731.00   $ 10,731.00

Total Cash Remaining            $ 429,405.77   $ 435,851.91     $ 441,960.99   $ 454,835.82   $ 460,806.03   $ 442,037.12   $ 425,225.85   $ 392,738.72   $ 353,680.83   $ 326,912.12   $ 324,234.08   $ 336,434.77    $ 341,063.59    $ 343,437.51




                                                                                                       Exhibit D
Case 22-30690   Doc 8   Filed 05/04/22 Entered 05/04/22 12:06:24   Desc Main
                         Document     Page 60 of 68
   Case 22-30690        Doc 8     Filed 05/04/22 Entered 05/04/22 12:06:24               Desc Main
                                   Document     Page 61 of 68



                             UNITED STATES BANKRUPTCY COURT
                                     DISTRICT OF MINNESOTA
_________________________________________________________________________________________________________

In re:
                                                                                    Case No. 22-30690
Gleason’s Gymnastic School, Inc.,
_________________________________________________________________________________________________________

                  DECLARATION OF LAWRENCE GLEASON IN SUPPORT OF
              NOTICE OF EXPEDITED HEARING AND MOTION AUTHORIZING
              USE OF CASH COLLATERAL AND FOR ADEQUATE PROTECTION
_________________________________________________________________________________________________________

         1.     I am the CEO of the Debtor in the above-referenced bankruptcy case.

         2.     I make this Unsworn Declaration in Support of the Debtor’s Motion for

Expedited Relief and Order Authorizing Use of Cash Collateral (“Motion”).

         3.     I am familiar with the Debtor’s assets, debts and operations.

         4.     The Debtor values its assets as of: (a) the Filing Date; (b) the date of the end

of the period of time for which Debtor currently seeks authorization to use cash collateral,

all as set forth in Exhibit C attached hereto.

         5.     The Debtor need the use of cash collateral to pay operating expenses.

         6.     The Debtor requires cash for the items and in the amounts specified on the

attached Exhibit D, which is also attached to the Debtor’s Motion.

         7.     The Expenditures provided for in Exhibit D are the normal and necessary

operating expenses of the Debtor that are necessary to avoid immediate and irreparable

harm to the bankruptcy estate.




                                                    1
Case 22-30690   Doc 8   Filed 05/04/22 Entered 05/04/22 12:06:24   Desc Main
                         Document     Page 62 of 68
   Case 22-30690        Doc 8     Filed 05/04/22 Entered 05/04/22 12:06:24               Desc Main
                                   Document     Page 63 of 68



                             UNITED STATES BANKRUPTCY COURT
                                     DISTRICT OF MINNESOTA
_________________________________________________________________________________________________________

In re:
                                                                                   Case No. 22-30690
Gleason’s Gymnastic School, Inc.,

_________________________________________________________________________________________________________

              MEMORANDUM OF LAW IN SUPPORT OF MOTION FOR ORDERS
             (I) GRANTING EXPEDITED RELIEF AND (II) AUTHORIZING USE OF
                    CASH COLLATERAL ON AN INTERIM AND FINAL BASIS
_________________________________________________________________________________________________________

         Gleason’s Gymnastic School, Inc., (“Debtor”), as debtor-in-possession, submit this

memorandum in support of its motion for orders (I) granting expedited relief and (II)

authorizing the Debtor to use cash collateral on an interim and final basis (the “Motion”).

                                           BACKGROUND

         The facts upon which the Debtor relies are set forth in the Debtor’s Motion.

                                             ARGUMENT

  I.       CAUSE EXISTS TO REDUCE NOTICE ON HEARING ON THE INTERIM MOTION

         Bankruptcy Rule 4001(b) provides that a court may commence a final hearing for

authority to use cash collateral no earlier than fourteen (14) days after service of the

motion. The Rule further provides that a court may conduct a preliminary hearing before

such fourteen (14) day period expires, but the court may authorize the use of cash

collateral only to the extent necessary to avoid immediate and irreparable harm to the

estate pending a final hearing. Fed. R. Bankr. P. 4001(b)(l){C)(2).              Local Rule 9006-l(e)

permits the court to reduce the notice of the hearing.

         In this case, grounds exist to reduce notice of the interim hearing to authorize the

use of cash collateral on a preliminary basis pending the final hearing. The Debtor has an
                                                   1
  Case 22-30690       Doc 8    Filed 05/04/22 Entered 05/04/22 12:06:24         Desc Main
                                Document     Page 64 of 68



urgent need for the use of cash collateral to continue its operations uninterrupted.      The

Debtor must meet immediate obligations such as payroll obligations and ordinary business

expenses, including rent, payroll and other reasonable and necessary business expenses. If

the Debtor loses employees or customers as a result of its inability to operate its business

without use of cash collateral, the value of its estate and the viability of ongoing operations

will be immediately and irreparably harmed, and recoveries for creditors will be

significantly reduced. Cause therefore exists to reduce notice of the hearing on the interim

motion.

          II.   THE COURT SHOULD AUTHORIZE THE PROPOSED USE OF CASH
                    COLLATERAL ON AN INTERIM AND FINAL BASIS

       As debtor-in-possession, the Debtor is authorized to operate its business under the

Bankruptcy Code. See 11 U.S.C. § 1108. The Bankruptcy Code provides that a debtor-in-

possession may use cash collateral only with the secured creditor's consent or if the Court,

after notice and a hearing, authorizes such use. See 11 U.S.C. § 363(c)(2). Before use of

cash collateral is authorized, section 363(e) of the Bankruptcy Code provides that the Court

must provide the secured creditor with adequate protection of its interest upon request of

the creditor.

       11 U.S.C. § 363(e). The Eighth Circuit Court of Appeals has reasoned that:

       In any given case, the bankruptcy court must necessarily (1) establish the
       value of the secured creditor’s interest, (2) identify the risks to the secured
       creditor’s value resulting from the debtor’s request for use of cash collateral,
       and (3) determine whether the debtor’s adequate protection proposal
       protects value as nearly as possible against risks to that value consistent with
       the concept of indubitable equivalence.

In re Martin, 761 F.2d 472,476-77 (8th Cir. 1985) (citation omitted). Each of the Martin

factors will be discussed in turn.


                                              2
  Case 22-30690       Doc 8      Filed 05/04/22 Entered 05/04/22 12:06:24        Desc Main
                                  Document     Page 65 of 68



       Pursuant to Martin, the first step is to establish the value of the secured creditor's

interest. The creditor’s interest is determined by what the creditor would recover if the

collateral were disposed of in the most commercially reasonable manner practicable. In re

Boring, 91 B.R. 791, 795 (Bankr·. S.D. Ohio 1988); United States v. Smithfield Estates, Inc. (In

re Smithfield Estates, Inc.), 48 B.R. 910, 912 (Bankr. D.R.I. 1985). With respect to this first

requirement, as of the Petition Date, the Secured Party held liens securing obligations owed

by the Debtor in the amount of approximately $188,699.72. As of that same date, the value

of the Secured Creditor’s collateral was approximately $575,400.

       With respect to the second requirement, the only cognizable risk to the Secured

Creditor would be that the Debtor might fail to generate replacement cash collateral to

compensate for the use of existing cash collateral, and the Secured Creditor’s secured

position would thus deteriorate over time. The Debtor proposes to use cash collateral to

maintain its existing operations, meet payroll obligations, and meet other operating

expenses.   The Debtor’s operations are maintaining collateral values and should not

decline. In the event the Debtor is not authorized to use cash collateral, its only alternative

will be to discontinue operations immediately. Such a result will greatly impair the value of

the Debtor’s assets, thereby likely precluding unsecured creditors from receiving anything

on account of their claims, and would be disruptive to the Debtor’s customers, employees,

and other parties in interest.

       The third and final requirement of Martin requires the Court to examine a debtor’s

adequate protection proposal to determine that the proposal protects the value of the

secured creditor’s interest, if any, in the cash collateral relative to the risk to such value.

761 F.2d at 477. Here, the Debtor proposes to grant post-petition replacement liens to the


                                               3
  Case 22-30690       Doc 8    Filed 05/04/22 Entered 05/04/22 12:06:24        Desc Main
                                Document     Page 66 of 68



Secured Party of the same priority, dignity and effect as their prepetition interests in the

Debtor’s cash collateral. According to the value projections on Exhibit B, the Debtor

projects that the value of its Cash Collateral will be maintained for the length of this case.

The Secured Party will be in exactly the same or better position at the conclusion of the

proposed period and are therefore adequately protected.

                                        CONCLUSION

       For the foregoing reasons, the Debtor respectfully requests that the Court enter an

order granting an expedited hearing, approving the use of cash collateral on an interim

basis and authorizing the Debtor to use cash collateral on a final basis.

Dated: May 4, 2022                                 THOMAS H. OLIVE LAW, P.A.


                                                   By: /e/ Thomas H. Olive
                                                   Thomas H. Olive (ID# 14423X)
                                                   5270 W. 84th Street, Suite 300
                                                   Bloomington, MN 55437
                                                   Telephone: (952) 831-0733

                                                   Attorneys for Debtor




                                               4
   Case 22-30690        Doc 8     Filed 05/04/22 Entered 05/04/22 12:06:24               Desc Main
                                   Document     Page 67 of 68



                             UNITED STATES BANKRUPTCY COURT
                                     DISTRICT OF MINNESOTA
_________________________________________________________________________________________________________

In re:
                                                                                    Case No. 22-30690
Gleason’s Gymnastic School, Inc.,
_________________________________________________________________________________________________________

                INTERIM ORDER AUTHORIZING USE OF CASH COLLATERAL
             AND APPROVING STIPULATION REGARDING CASH COLLATERAL
_________________________________________________________________________________________________________

         This matter came before the undersigned on the Debtor’s Motion for Expedited

Relief; Interim Order Authorizing Use of Cash Collateral. Appearances were noted on the

record. Based on the Motion, all the files, records and proceedings herein, the Court being

fully advised in the premises,

         IT IS HEREBY ORDERED:

         1.     The Debtor’s request for expedited relief is GRANTED.

         2.     The Debtor is authorized, subject to the terms herein, to use cash collateral in

which American Express National Bank and US Small Business Administration (“Secured

Parties”) have an interest through May 25, 2022.

         3.     The Debtor’s use of cash collateral is subject to the following terms:

                       A.     The Debtor will use cash collateral to pay its ordinary and
                necessary business expenses and administrative expenses for the items and
                such use will not vary materially from that provided for in Exhibit D attached
                to the Motion, except for variations attributable to expenditures specifically
                authorized by Court Order.

                       B.      The Debtor will grant the Secured Parties replacement liens, to
                the extent of the Debtor’s use of cash collateral, in post-petition inventory,
                accounts, equipment and general tangibles, with such lien being of the same
                priority, dignity and effect as their respective pre-petition liens. However,
                such replacement liens shall exclude all causes of action under Chapter 5 of
                Title 11 of the United State Code.

                        C.      The Debtor will carry insurance on its assets.
  Case 22-30690        Doc 8      Filed 05/04/22 Entered 05/04/22 12:06:24         Desc Main
                                   Document     Page 68 of 68



                     D.    The Debtor will provide the Secured Parties with such reports
               and documents as they many reasonably request.

                       E.      The Debtor will afford the Secured Parties the right to inspect
               the Debtor’s books and records and the right to inspect and appraise any part
               of their collateral at anytime during normal operating hours upon reasonable
               notice to the Debtor and its attorney.

       4.      The Court will hold a final hearing on cash collateral on Wednesday May

25, 2022, at 1:00 p.m. before the Honorable Katherine A. Constantine, in Courtroom 8

West, 300 South Fourth Street, Minneapolis, MN 55415.

                                                   BY THE COURT


Dated: ________________________                    ________________________________________________
                                                   Katherine A. Constantine
                                                   United States Bankruptcy Judge
